J. BLAKE ALEXANDER AND WIFE, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Alexander v. CommissionerDocket No. 33506.United States Board of Tax Appeals15 B.T.A. 756; 1929 BTA LEXIS 2791; March 11, 1929, Promulgated *2791  HUSBAND AND WIFE. - Petitioner and his wife originally made a joint return for the calendar year 1925; thereafter, petitioner made separate individual returns for the year 1925 and tendered same to the respondent.  Held, petitioner having originally made a joint return for the calendar year 1925, may not thereafter, by filing amended separate returns, have the tax liability determined upon the basis of such separate returns.  Brice Toole, Esq., for the respondent.  MILLIKEN *756  This proceeding results from the determination by the respondent of a deficiency in income tax for the calendar years 1924 and 1925, in the sums of $224.09 and $6,214.50, respectively.  Petitioner assigns error in "the failure and refusal of the Commissioner of Internal Revenue to permit taxpayers to file an amended return for the year 1925 on a community basis and upon the basis of a separate return for the petitioner, J. Blake Alexander and a separate return for the wife, Mrs. J. Blake Alexander, and to compute the taxes upon the separate income of the husband and wife." FINDINGS OF FACT.  Petitioners are individuals with residence at 1420 Victoria St., Laredo, Tex.*2792  A joint return for the year 1925 was filed by petitioner, showing a taxable income of $7,423.79, upon which he paid income taxes in the amount of $48.73.  The respondent increased taxable net income of petitioner for the year 1925 and asserted deficiency for the year 1925 in the amount of $6,214.50.  The respondent refused to permit taxpayers to file amended separate returns for the year 1925, on a community basis.  *757  OPINION.  MILLIKEN: Petitioner filed a joint Federal income-tax return for himself and wife for the calendar year 1925, and seeks, by this proceeding, to have us hold that the respondent was in error in refusing to accept separate income-tax returns for himself and wife, which he subsequently tendered to respondent.  We have decided the identical question adversely to petitioner's contentions in , and . See also , and . Judgment will be entered for the respondent.